     Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 1 of 31




                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA,                  FILED IN
                            ATLANTA DIVISION                                   CLERlft OMR
                                                                                 ci@in@§viim
                                                                        AUG 2 1 201O
CONSUMER FINANCIAL                                                Nee N klATTPV,
PROTECTION BUREAU,                                                               @kirk
                                                                                 DmilyIfk
      Plaintiff,                           Civil Action No.
                                           1:15-CV-0859-RWS
             V.

UNIVERSAL DEBT & PAYMENT
SOLUTIONS, LLC; et al.

      Defendants.




        STIPULATED FINAL JUDGMENT AND ORDER AS TO
                DEFENDANTS SUMANT KHAN AND
           S PAYMENT & PROCESSING SOLUTIONS, LLC


      Plaintiff, the Consumer Financial Protection Bureau ("Bureau"),

commenced this action on March 26, 2015, by filing a complaint [ECF No. 1]

("Complaint") against certain individuals and entities ("Defendants," as

further defined below) alleging deceptive and unfair acts and practices in

connection with consumer debt collection in violation of the Consumer

Financial Protection Act, 12 U.S.C.   5531, 5536 ("CFPA"), and various

violations of the Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692-1692p

"FD CPA").

                                      1
     Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 2 of 31




      On March 21, 2019, the Court issued a decision [FCF No. 576] (the

"March 21, 2019 Decision") on motions for summary judgment filed by the

Bureau and by Defendants Sumant Khan ("Khan") and S Payment

Processing & Solutions, LLC ("SPPS"), Khan's company (collectively,

"Stipulating Defendants"). The Court found Khan liable for providing

substantial assistance to other Defendants' CFPA violations and denied the

Bureau's motion with regard to the Bureau's seven other CFPA and FDCPA

claims against Stipulating Defendants, finding that issues of material fact

remained. The Court awarded summary judgment on all of the Bureau's

claims against all remaining Defendants, and denied Stipulating Defendants'

summary judgment motion.

      The Bureau and Stipulating Defendants, by and through their

respective counsel, desire to settle this dispute and, as a result, agree to the

entry of this Stipulated Final Judgment and Order ("Order").

                                  FINDINGS

      1.    The Court has jurisdiction over the parties and the subject

matter of this action.

      2.    In the March 21, 2019 Decision, the Court found that the

evidence accepted on summary judgment established the existence of an

unlawful phantom debt collection scheme among Defendants other than

SPPS. ECF No. 576 at 9-12, 25-28, 48-49, fia. The Court found further that

                                        2
     Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 3 of 31




Khan did not dispute that he was subject to the CFPA as a "covered person"

and a "service provider" within the meaning of the statute. ECF No. 576 at

41. The Court also found that the evidence accepted on summary judgment
established that Khan provided substantial assistance to the other

Defendants in carrying out their violations of the CFPA, ECF No. 576 at 52-

11, but found issues of material fact with respect to all other claims against

Stipulating Defendants.

      3.    The Bureau and Stipulating Defendants agree to the entry of this

Order to settle and resolve all matters in dispute arising from the conduct

alleged in the Complaint.

      4.    The Court has found that the Complaint states claims upon

which relief may be granted under the FDCPA and the CFPA. ECF No. 149.

      5.    The relief provided in this Order is appropriate and available

pursuant to sections 1054 and 1055 of the CFPA, 12 U.S.C. §§ 5564 and 5565,

and pursuant to the FDCPA, 15 U.S.C. § 16921.

      6.    Stipulating Defendants neither admit nor deny the allegations in

the Complaint except as stated in this Order. For purposes of this Order,

Stipulating Defendants admit the facts necessary to establish the Court's

jurisdiction over them and the subject matter of this action.

      7.    Stipulating Defendants waive all rights to seek judicial review or

otherwise challenge or contest the validity of this Order. Stipulating

                                       3
     Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 4 of 31




Defendants further waive any claim they may have under the Equal Access

to Justice Act, 28 U.S.C. § 2412, concerning the prosecution of this action to

the date of this Order. Each party will bear its own costs and expenses,

including without limitation attorneys' fees.

      8.    Entry of this Order is in the public interest.

                                DEFINITIONS

      9.    The following definitions apply to this Order:


            a. "Affected Consumers" means Consumers who paid any money

               to the LLC Defendants between March 1, 2011 and March 31,

               2015.

            b. "Consumer" means an individual or an agent, trustee, or

               representative acting on behalf of an individual. 12 U.S.C. §

               5481(4).

            c. "Consumer Financial Product or Service" is synonymous in

               meaning and equal in scope to the definition of the term, as of

               the Effective Date, in Section 1002(5) of the CFPA, 12 U.S.C. §

               5481(5), and, subject to applicable restrictions contained in the

               CFPA, includes, but is not limited to:

                  i. engaging in deposit-taking activities, transmitting or

                       exchanging funds, or otherwise acting as a custodian of



                                        4
Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 5 of 31




              funds or any financial instrument for use by or on behalf

              of a consumer;

           ii. providing payments or other financial data processing

              products or services to a consumer by any technological

              means, including processing or storing financial or

              banking data for any payment instrument, or through

              any payments systems or network used for processing

              payments data, including payments made through an

              online banking system or mobile telecommunications

              network; or

           iii. providing financial advisory services to consumers on

              individual financial matters or relating to proprietary

              financial products or services, including providing credit

              counseling to any consumer or providing services to

              assist a consumer with debt management or debt

              settlement, modifying the terms of any extension of

              credit, or avoiding foreclosure.

     d. "Debt" means any obligation or alleged obligation of a

        Consumer to pay money arising out of a transaction in which

        the money, property, insurance or services which are the

        subject of the transaction are primarily for personal, family, or
Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 6 of 31




         household purposes, whether or not such obligation has been

         reduced to judgment. 15 U.S.C. § 1692a(5).

      e. "Debt Collector" means (i) any Person who uses an

         instrumentality of interstate commerce or the mail in any

         business the principal purpose of which is the collection of

         Debts or who regularly collects or attempts to collect, directly

         or indirectly, Debts owed or due or asserted to be owed or due

         another; (ii) any creditor who, in the process of collecting its

         own Debts, uses any name other than its own that would

        indicate that a third Person is collecting or attempting to

        collect the creditor's Debts; and (iii) any Person to the extent

        that such Person collects or attempts to collect any Debt that

        was in default at the time it was obtained by such Person.

      f. "Defendants" means all of the Individual Defendants and the

        LLC Defendants, individually, collectively, or in any

        combination.

            i. "Individual Defendants" means Mohan Bagga, Marcus

               Brown, Santa Brown, Tasha Pratcher, and Sumant

               Khan, collectively, or in any combination, and each of

               them by any other names by which they might be

               known;
Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 7 of 31




               "LLC Defendants" means Check & Credit Recovery,

               LLC, Credit Power, LLC, Universal Debt & Payment

               Solutions, LLC, Universal Debt Solutions, WNY Account

               Solutions, LLC, WNY Solutions Group, LLC, and S

              Payment Processing & Solutions, LLC and their

              successors and assigns, collectively, or in any

              combination;

           iii. "Stipulating Defendants" means Sumant Khan and S

              Payment Processing & Solutions, LLC, and its

              successors and assigns, collectively, or in any

              combination.

      g. "Effective Date" means the date on which the Order is issued.

      h. "Enforcement Director" means the Assistant Director of the

        Office of Enforcement for the Consumer Financial Protection

        Bureau, or his or her delegate.

     i. "Person" means an individual, partnership, company,

        corporation, association (incorporated or unincorporated),

        trust, estate, cooperative organization, or other entity.

     j. "Related Consumer Action" means a private action by or on

        behalf of one or more consumers or an enforcement action by

        another governmental agency brought against one or both

                                7
Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 8 of 31




        Stipulating Defendants based on substantially the same facts

        as this matter.

      k. "Relevant Period" means March 1, 2011 through March 31,

        2015.

     1. "Service Provider" is synonymous in meaning and equal in

        scope to the definition of the term, as of the Effective Date, in

        Section 1002(26) of the CFPA, 12 U.S.C. § 5481(26), and,

        subject to applicable restrictions contained in the CFPA,

        includes, but is not limited to, any Person that provides

        material service to a Person that is a "covered person" under

        the CFPA, 12 U.S.C. § 5481(6), in connection with the offering

        or provision by such "covered person" of a Consumer Financial

        Product or Service, including a Person that:

           i. participates in designing, operating, or maintaining the

                Consumer Financial Product or Service; or

           ii. processes transactions relating to the Consumer

                Financial Product or Service (other than unknowingly or

                incidentally transmitting or processing financial data in

                a manner that such data is undifferentiated from other

                types of data of the same form as the Person transmits

                or processes).
    Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 9 of 31




                                    ORDER


                            CONDUCT RELIEF


                   Permanent Ban on Debt Collection


IT IS ORDERED that:

     10.   Stipulating Defendants, whether acting directly or indirectly, are

permanently restrained and enjoined from:

           a. acting as a Debt Collector;

           b. holding any ownership interest in (i) a Debt Collector or (ii) a

              payment processor to a Debt Collector;

           c. receiving any remuneration or other consideration from (i) a

              Debt Collector or (ii) a payment processor to a Debt Collector if

              the remuneration or consideration relates to the collection of

              Debts;

           d. providing services or assistance to, or working in any capacity

              for, a Debt Collector, including but not limited to acting as a

              Service Provider, employee, or independent contractor to a

              Debt Collector; and

           e. advertising, marketing, promoting, offering for sale,

              processing payments for, selling, or buying any Debt or

              consumer information relating to a Debt.

                                      9
    Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 10 of 31




      Nothing in this Order shall be read as an exception to this Paragraph.




             Prohibition on Misrepresentations Concerning
               Consumer Financial Products or Services

IT IS FURTHER ORDERED that:

      11.   Stipulating Defendants, and their officers, agents, servants,

employees, and attorneys, and all other persons in active concert or

participation with them who have actual notice of this Order, whether acting

directly or indirectly, in connection with any Consumer Financial Product or

Service, are permanently restrained and enjoined from misrepresenting,

omitting, or assisting others in misrepresenting or omitting, expressly or by

implication, any material fact, including but not limited to:

            a. a business name or identity;

            b. that any Person is an attorney or is barred or licensed to

               practice law in a particular jurisdiction;

            c. that any Person who is not associated or affiliated with an

               attorney or law firm is affiliated or associated with an

               attorney or law firm;

            d. that a Consumer will receive legal representation;

            e. how much a Consumer will save from purchasing, using, or

               enrolling in a Consumer Financial Product or Service;


                                       10
    Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 11 of 31




            f. how long it will take to settle any Debts;

            g. the likelihood of any particular outcome or result from a

               Consumer Financial Product or Service; or

            h. the nature or terms of any refund, cancellation, exchange, or

               repurchase policy, including but not limited to the likelihood of

               a Consumer obtaining a full or partial refund, or the

               circumstances in which a full or partial refund will be

               provided to the Consumer.

                                      III.

               Prohibition on Unfair Practices Involving
               Consumer Financial Products or Services

IT IS FURTHER ORDERED that:

      12.   Stipulating Defendants, and their officers, agents, servants,

employees, and attorneys, and all other persons in active concert or

participation with them who have actual notice of this Order, whether acting

directly or indirectly, in connection with any Consumer Financial Product or

Service, are permanently restrained and enjoined from:

            a. Placing telephone calls to consumers without meaningful

               disclosure of the caller's identity; and




                                       11
    Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 12 of 31




            b. Concealing their identity by causing "000-000-0000" or any

               other false or misleading information to appear on a

               consumer's caller identification.

                                      IV.

      Prohibition on Business Ventures with Other Defendants

IT IS FURTHER ORDERED that:

      13.   Stipulating Defendants, whether acting directly or indirectly, are

permanently restrained and enjoined from investing in, providing services to,

working for, serving as an officer of, or being otherwise engaged in any

business venture or project involving any other Defendant.

                                      V.

                          Consumer Information

IT IS FURTHER ORDERED that:

      14.   Stipulating Defendants, and their officers, agents, servants,

employees, and attorneys and all other Persons in active concert or

participation with any of them, who receive actual notice of this Order,

whether acting directly or indirectly, are permanently restrained and

enjoined from using, disclosing, or benefiting from Consumer information,

including the name, address, telephone number, email address, social

security number, other identifying information, or any data that enables

access to a Consumer's account (including a credit card, bank account, or any

                                      12
    Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 13 of 31




financial account) that any Defendant obtained before the Effective Date in

connection with any Defendant's activity as a Debt Collector.

                                     VI.

        Prohibition on Certain Merchant Processing Activities

IT IS FURTHER ORDERED that:

      15.   Stipulating Defendants, and their officers, agents, servants,

employees, and attorneys, and all other persons in active concert or

participation with them, who receive actual notice of this Order, whether

acting directly or indirectly, are permanently restrained and enjoined from

allowing third parties to use any merchant processing account that

Stipulating Defendants own or control to collect consumer payments.

      16.   Stipulating Defendants, and their officers, agents, servants,

employees, and attorneys, and all other persons in active concert or

participation with them, who have actual notice of this Order, whether acting

directly or indirectly, are permanently restrained and enjoined from re-

opening and using the following merchant payment processing accounts

associated with the unlawful debt collection scheme: account number

4445017416651 with DBS/Vantiv and account number 564400000641183

with Francis David Corporation d/b/a Electronic Merchant Systems.




                                      13
    Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 14 of 31




                        MONETARY PROVISIONS
                                     VII.
                           Order to Pay Redress

IT IS FURTHER ORDERED that:


      17.   A judgment for equitable monetary relief and damages is entered

in favor of the Bureau and against Stipulating Defendants, in the amount of

$633,710.00, for the purpose of providing redress to Affected Consumers;

however, full payment of this judgment will be suspended upon satisfaction of

the obligations in Paragraphs 18 and 20 of this Section and in Sections IX

and X, and subject to Section VIII of this Order.

      18.   In partial satisfaction of the judgment against Stipulating

Defendants:

            a. Within 10 business days of receipt of a copy of this Order by

               any means, including but not limited to via facsimile or email,

               Wells Fargo Bank shall transfer to the Bureau or the Bureau's

               agent, according to the Bureau's instructions, all funds in the

               account XXXXXX0830 in the name of Sumant Khan;

            b. Within 10 business days of receipt of a copy of this Order by

               any means, including but not limited to via facsimile or email,

               Branch Banking and Trust Company shall transfer to the

               Bureau or the Bureau's agent, according to the Bureau's


                                      14
Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 15 of 31




         instructions, all funds in account XXXXXX2400 in the name of

         Sumant Khan, account XXXXXX5141 in the names of Sumant

         Khan and others, account XXXXXX8141 in the names of

         Sumant Khan and others, and account XXXXXX8531 in the

         name of Sumant Khan.

      c. Within 10 business days of receipt of a copy of this Order by

         any means, including but not limited to via facsimile or email,

         JPMorgan Chase Bank, N.A. shall transfer to the Bureau or

         the Bureau's agent, according to the Bureau's instructions, all

         funds in account XXXXX9239 in the name of Sumant Khan.

      d. Within 10 business days of receipt of a copy of this Order by

         any means, including but not limited to via facsimile or email,

         Citibank, N.A. shall transfer to the Bureau or the Bureau's

         agent, according to the Bureau's instructions, all funds in

         account XXXX7049 in the name of Sumant Khan.

      e. Within 10 business days of receipt of a copy of this Order by

         any means, including but not limited to via facsimile or email,

         Francis David Corporation d/b/a Electronic Merchant Systems

         shall transfer to the Bureau or the Bureau's agent, according

         to the Bureau's instructions, all funds held in reserve or as

         retainage for SPPS.

                                15
    Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 16 of 31




             f. Stipulating Defendants hereby grant to the Bureau all rights

                and claims they have to the funds in the accounts listed in

               subsections a through g above, and shall forfeit any rights to

               those funds.

      19.    The Preliminary Injunction [BCF No. 16] is modified to permit

the transfers identified in Paragraph 18. Upon completion of those transfers,

the Preliminary Injunction's asset freeze as to the Stipulating Defendants is

dissolved.

      20.    With regard to any redress that Stipulating Defendants pay

under this Section, if Stipulating Defendants, or either of them, directly or

indirectly, receive any reimbursement or indemnification from any source,

including but not limited to payment made under any insurance policy, or if

Stipulating Defendants, or either of them, secure a tax deduction or tax credit

with regard to any federal, state, or local tax, Stipulating Defendants must:

(a) immediately notify the Enforcement Director in writing, and (b) within 10

days of receiving the funds or monetary benefit, the Stipulating Defendant

who received the funds or monetary benefit must transfer to the Bureau the

full amount of such funds or monetary benefit ("Additional Payment") to the

Bureau or to the Bureau's agent according to the Bureau's wiring

instructions. After the Bureau receives the Additional Payment, the amount

of the suspended judgment referenced in Paragraph 17 will be reduced by the

                                      16
      Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 17 of 31




amount of the Additional Payment and the Additional Payment will be

applied toward satisfaction of the monetary judgment entered in Paragraph

17.

       21.   Any funds received by the Bureau in satisfaction of this judgment

will be deposited into a fund or funds administered by the Bureau or to the

Bureau's agent according to applicable statutes and regulations to be used for

redress for Affected Consumers, including, but not limited to, refund of

moneys, restitution, damages or other monetary relief, and for any attendant

expenses for the administration of any such redress.

       22.   If the Bureau determines, in its sole discretion, that redress to

consumers is wholly or partially impracticable or if funds remain after

redress is completed, the Bureau will deposit any remaining funds in the U.S.

Treasury as disgorgement. Stipulating Defendants will have no right to

challenge any actions that the Bureau or its representatives may take under

this Section.

       23.   Payment of redress to any Affected Consumer under this Order

may not be conditioned on that Affected Consumer waiving any right.




                                       17
    Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 18 of 31




                                    VIII.
                Effect of Misrepresentation or Omission
                    Regarding Financial Condition

IT IS FURTHER ORDERED that:

      24.   The Bureau's agreement to enter into this Order and the

suspension of the monetary judgment entered in Section VII of this Order is

expressly premised on the truthfulness, accuracy, and completeness of

Stipulating Defendants' financial statements and supporting documents

submitted to the Bureau, which Stipulating Defendants have attested,

subject to the penalties imposed by 18 U.S.C. §§ 1001 and 3571, are truthful,

accurate, and complete, and which are:

            a. Financial Statement of Khan, including any attachments,

               executed on April 7, 2015 and submitted to the Bureau on or

              about that date;

            b. Updated Financial Statement of Khan, including the

              attachments, signed on August 19, 2019, and submitted to the

              Bureau on or about that date;

            c. Financial Statement of SPPS, including any attachments,

              executed on April 7, 2015 and submitted to the Bureau on or

              about that date;




                                     18
     Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 19 of 31




            d. Updated Financial Statement of SPPS, including any

               attachments, executed on August 19, 2019 and submitted to

               the Bureau on or about that date.

      25.   If upon motion by the Bureau, the Court determines that a

Stipulating Defendant has failed to disclose any material asset or that any of

their Financial Statements listed in Paragraph 24 contain any material

misrepresentation or omission, including materially misstating the value of

any asset, the Court shall terminate the suspension of the monetary

judgment entered in Section VII of this Order and the full judgment of $

633,710.00 entered shall be immediately due and payable, less any amounts

paid under Paragraphs 18 and 20.

      26.   If the Court terminates the suspension of the monetary judgment

under this Section, the Bureau will be entitled to interest on the Order,

computed from the date of entry of this Order, at the rate prescribed by ,2,a

U.S.C41961, as amended, on any outstanding amounts not paid.

      27.   Provided, however, that in all other respects this Order shall

remain in full force and effect unless otherwise ordered by the Court; and,

provided further, that proceedings instituted under this provision would be in

addition to, and not in lieu of any other civil or criminal remedies as may be

provided by law, including any other proceedings that the Bureau may

initiate to enforce this Order.

                                       19
    Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 20 of 31




                                      lX.
                   Order To Pay Civil Money Penalties

IT IS FURTHER ORDERED that:

      28.   Under section 1055(c) of the CFPA, 12 U.S.C. § 5565(c), by reason

of Khan's violation of the CFPA described in the March 21, 2019 Decision and

by reason of the other alleged violations of law by Stipulating Defendants

described in the Complaint, and taking into account the factors in 12 U.S.C.

5565(0(3), each Stipulating Defendant must pay a civil money penalty of

$1.00 to the Bureau. This nominal penalty is based on Stipulating

Defendants' limited ability to pay as attested to in their financial statements

listed in Section VIII above.

      29.   Within 10 days of the Effective Date, Stipulating Defendants

must pay the civil money penalty by wire transfer to the Bureau or to the

Bureau's agent in compliance with the Bureau's wiring instructions.

      30.   The civil money penalties paid under this Order will be deposited

in the Civil Penalty Fund of the Bureau as required by section 1017(d) of the

CFPA, 12 U.S.C. § 5497(d).

      31.   Stipulating Defendants must treat the civil money penalty paid

under this Order as a penalty paid to the government for all purposes.

      32.   Regardless of how the Bureau ultimately uses those funds,

Respondent may not:

                                      20
    Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 21 of 31




            a. Claim, assert, or apply for a tax deduction, tax credit, or any

               other tax benefit for any civil money penalty paid under this

               Consent Order; or

            b. Seek or accept, directly or indirectly, reimbursement or

               indemnification from any source, including but not limited to

               payment made under any insurance policy, with regard to any

               civil money penalty paid under this Consent Order.

                                       X.

                     Additional Monetary Provisions

IT IS FURTHER ORDERED that:

      33.   In the event of any default on Stipulating Defendants' obligations

to make payment under this Order, interest, computed under

28 U.S.C. § 1961, as amended, will accrue on any outstanding amounts not

paid from the date of default to the date of payment, and will immediately

become due and payable.

      34.   Stipulating Defendants relinquish all dominion, control, and title

to the funds paid under this Order to the fullest extent permitted by law and

no part of the funds may be returned to Stipulating Defendants.

      35.   The facts alleged in the Complaint will be taken as true and be

given collateral estoppel effect, without further proof, in any proceeding

based on the entry of the Order, or in any subsequent civil litigation by or on

                                      21
     Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 22 of 31




behalf of the Bureau in a proceeding to enforce its rights to any payment or

monetary judgment under this Order, such as a nondischargeability

complaint in any bankruptcy case.

      36.   The facts alleged in the Complaint establish all elements

necessary to sustain an action by the Bureau under to Section 523(a)(2)(A) of

the Bankruptcy Code, 11 U.S.C. § 523(a)(2)(A), and for such purposes this

Order will have collateral estoppel effect against each Stipulating Defendant,

even in such Stipulating Defendant's capacity as debtor-in-possession.

      37.   Under 31 U.S.C. § 7701, Stipulating Defendants, unless they

have already done so, must furnish to the Bureau their taxpayer identifying

numbers, which may be used for purposes of collecting and reporting on any

delinquent amount arising out of this Order.

      38.   Within 30 days of the entry of a final judgment, consent order, or

settlement in a Related Consumer Action, Stipulating Defendants must

notify the Enforcement Director of the final judgment, consent order, or

settlement in writing. That notification must indicate the amount of redress,

if any, that Stipulating Defendants, or either of them, paid or is required to

pay to consumers and describe the consumers or classes of consumers to

whom that redress has been or will be paid.

      39.   To preserve the deterrent effect of the civil money penalty in any

Related Consumer Action, Stipulating Defendants may not argue that they

                                       22
    Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 23 of 31




are entitled to, nor may any Stipulating Defendant benefit by, any offset or

reduction of any monetary remedies imposed in the Related Consumer Action

because of the civil money penalty paid in this action. If the court in any

Related Consumer Action offsets or otherwise reduces the amount of

compensatory monetary remedies imposed against any Stipulating

Defendant based on the civil money penalty paid in this action or based on

any payment that the Bureau makes from the Civil Penalty Fund,

Stipulating Defendant must, within 30 days after entry of an Order granting

such offset or reduction, notify the Bureau and pay the amount of the offset

or reduction to the U.S. Treasury. Such a payment will not be considered an

additional civil money penalty and will not change the amount of the civil

money penalty imposed in this action.

                        COMPLIANCE PROVISIONS

                                       XI.

                          Reporting Requirements

IT IS FURTHER ORDERED that:

      40.   Stipulating Defendants must notify the Bureau of any

development that may affect compliance obligations arising under this Order,

including but not limited to, a dissolution, assignment, sale, merger, or other

action that would result in the emergence of a successor company to SPPS;

the creation or dissolution of a subsidiary, parent, or affiliate that engages in

                                       23
    Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 24 of 31




any acts or practices subject to this Order; the filing of any bankruptcy or

insolvency proceeding by or against Stipulating Defendants or either of them;

or a change in Stipulating Defendants' names or addresses. Stipulating

Defendants must provide this notice, if practicable, at least 30 days before

the development, but in any case no later than 14 days after the

development.

        41.   Within 7 days of the Effective Date, Stipulating Defendants must

each:


              a. Designate at least one telephone number and email, physical,

                 and postal address as points of contact, which the Bureau may

                 use to communicate with Stipulating Defendants;

              b. Identify all businesses for which a Stipulating Defendant is

                 the majority owner, or that a Stipulating Defendant directly or

                 indirectly controls, by all of their names, telephone numbers,

                 and physical, postal, email, and Internet addresses;

              c. Describe the activities of each such business, including the

                 products and services offered, and the means of advertising,

                 marketing, and sales.

              d. Identify Khan's telephone numbers and all email, Internet,

                 physical, and postal addresses, including all residences;



                                         24
    Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 25 of 31




            e. Describe in detail Khan's involvement in any business for

               which he performs services in any capacity or which he wholly

               or partially owns, including Khan's title, role, responsibilities,

               participation, authority, control, and ownership.

      42.   Stipulating Defendants must report any change in the

information required to be submitted under Paragraph 41 at least 30 days

before the change or as soon as practicable after the learning about the

change, whichever is sooner.

      43.   Within 90 days of the Effective Date and again one year after the

Effective Date, Khan must submit to the Enforcement Director an accurate

written compliance progress report sworn to under penalty of perjury

("Compliance Report"), which, at a minimum:

            a. Lists each applicable paragraph and subparagraph of the

               Order and describes in detail the manner and form in which

               Stipulating Defendants have complied with each such

               paragraph and subparagraph of this Order;

            b. Attaches a copy of each Order Acknowledgment obtained

               under Section XII, unless previously submitted to the Bureau.




                                       25
    Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 26 of 31




                                      XII.

               Order Distribution and Acknowledgement

IT IS FURTHER ORDERED that:

      44.   Within 7 days of the Effective Date, Stipulating Defendants must

submit to the Enforcement Director an acknowledgment of receipt of this

Order, sworn under penalty of perjury.

      45.   For 10 years from the Effective Date, Khan must, for any

business that provides Consumer Financial Products or Services or acts as a

Service Provider for such a business, and for which he is the majority owner

or which he directly or indirectly controls, deliver a copy of this Order to any

managers, employees, or other agents and representatives who will have

responsibilities related to Consumer Financial Products or Services before

they assume their responsibilities.

      46.   Khan must, through his counsel, deliver a copy of this Order to

the bar of any State of the United States to which he has applied or will apply

for admission to practice as an attorney, in addition to any disclosure

requirements of such bar.

      47.   Stipulating Defendants must secure a signed and dated

statement acknowledging receipt of a copy of this Order, ensuring that any

electronic signatures comply with the requirements of the E-Sign Act, la



                                       26
     Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 27 of 31




U.S.C. § 7001 et seq., within 30 days of delivery, from all persons receiving a

copy of this Order under this Section.

                                      XIII.

                                Record-keeping

IT IS FURTHER ORDERED that:

      48.   Stipulating Defendants must create, or if already created, must

retain for the duration of the Order, all documents and records necessary to

demonstrate full compliance with each provision of this Order, including all

submissions to the Bureau.

                                      XIV.

                                     Notices

IT IS FURTHER ORDERED that:

      49.   Unless otherwise directed in writing by the Bureau, Stipulating

Defendants must provide all submissions, requests, communications or other

documents relating to this Order in writing, with the subject line, "In re

CFPB v. Universal Debt & Payment Solutions LLC, et al., ENF Matter No.

2013-0916-2," and send them by overnight courier or first-class mail to the

below address and contemporaneously by email to

Enforcement_Compliance@cfpb.gov:

      Assistant Director for Enforcement
      Consumer Financial Protection Bureau
      ATTENTION: Office of Enforcement
                                         27
    Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 28 of 31




      1700 G Street, N.W.
      Washington, D.C. 20552


                                      XV.

                       Cooperation with the Bureau

IT IS FURTHER ORDERED that:

      50.   Stipulating Defendants must cooperate fully to help the Bureau

determine the identity and location of, and the amount of injury sustained by,

each Affected Consumer. Each Stipulating Defendant must provide such

information in its or its agents' possession or control within 14 days of

receiving a written request from the Bureau.

      51.   Stipulating Defendants must cooperate fully with the Bureau in

this matter and in any investigation related to or associated with the conduct

described in the Complaint, the March 21, 2019 Decision, or Section I herein.

Stipulating Defendants must provide truthful and complete information,

evidence, and testimony. Khan must appear and SPPS must cause its

officers, employees, representatives, or agents to appear for interviews,

discovery, hearings, trials, and any other proceedings that the Bureau may

reasonably request upon 10 days written notice, or other reasonable notice, at

such places and times as the Bureau may designate, without the service of

compulsory process.




                                       28
    Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 29 of 31




                                   XVI.

                         Compliance Monitoring

IT IS FURTHER ORDERED that, to monitor Stipulating Defendants'

compliance with this Order, including the financial representations upon

which part of the judgment was suspended:

     52.   Within 14 days of receipt of a written request from the Bureau,

Stipulating Defendants must submit requested non-privileged information

related to requirements of this Order, which must be made under penalty of

perjury; provide sworn testimony related to requirements of this Order and

Stipulating Defendants' compliance with those requirements; or produce non-

privileged documents related to requirements of this Order and Stipulating

Defendants' compliance with those requirements.

     53.   For purposes of this Section, the Bureau may communicate

directly with Stipulating Defendants, unless Stipulating Defendants retain

counsel related to these communications.

     54.   Stipulating Defendants must permit Bureau representatives to

interview about the requirements of this Order and Stipulating Defendants'

compliance with those requirements any employee or other person affiliated

with Stipulating Defendants who has agreed to such an interview. The

person interviewed may have counsel present.



                                     29
     Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 30 of 31




      55.   Nothing in this Order limits the Bureau's lawful use of civil

investigative demands under 12 C.F.R. § 1080.6 or other compulsory process.

                                      XVII.

                                 Miscellaneous

IT IS FURTHER ORDERED that:

      56.   If any clause, provision, or section of this Order shall, for any

reason, be held to be invalid, illegal, or unenforceable in any respect, such

invalidity, illegality, or unenforceability shall not affect any other clause,

provision, or section of this Order and this Order shall be construed and

enforced as if such invalid, illegal, or unenforceable clause, provision, or

section had not been contained herein.

      57.   Nothing contained herein shall be construed as to deprive any

Person, not a party to this case, of any private right under the law.

      58.   The Bureau may serve Stipulating Defendants, directly or

through their attorneys, via electronic mail any written notices required or

permitted to be served pursuant to this Order.

                                     XVIII.

                              Entry of Judgment

IT IS FURTHER ORDERED that:

      59.   There is no just reason for delay of entry of this judgment, and

under Federal Rule of Civil Procedure 54(b), the Clerk immediately shall

                                        30
    Case 1:15-cv-00859-RWS Document 588 Filed 08/21/19 Page 31 of 31




enter this Order as a final judgment as to Stipulating Defendants Sumant

Khan and S Payment Processing & Solutions, LLC.

                                     XIX

                         Retention of Jurisdiction

IT IS FURTHER ORDERED that:

      60.   This Court will retain jurisdiction of this matter for purposes of

construction, modification, and enforcement of this Order.




IT IS SO ORDERED,                             , 2019.




                                           The Ho orable Richard S ry
                                           United States District dge




                                      31
